        Case 1:24-cv-06873-RA-KHP                    Document 11       Filed 11/01/24         Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
JUNIOR A. NUNEZ RODRIGUEZ,
                                     Plaintiff(s),

                                                                        1:24            06873        RA/KHP
                                                                                 Civ.            (      )
                     - against -
                                             CLERK'S CERTIFICATE
                                                   OF DEFAULT
FORDHAM AUTO PLUS, INC., and JULIO CABRERA, individually,
                                   Defendant(s),
-------------------------------------------------------------X

               I, DANIEL ORTIZ, Acting Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on
September 11, 2024
                 with the filing of a summons and complaint, a copy of the summons and
                                                     Fordham Auto Plus, Inc., and Julio Cabrera
complaint was served on defendant(s)
                            defendants on September 20, 2024.
by personally serving                                                                                         ,
                                                         October 15, 2024                    9 & 10
and proof of service was therefore filed on                                    , Doc. #(s)                    .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York

                           , 20                                         DANIEL ORTIZ
                                                                      Acting Clerk of Court


                                                                 By: _________________________
                                                                           Deputy Clerk




SD N Y W eb 3/2015
